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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                        Case No. 20-cr-00266-JST-1
                                                       Plaintiff,
                                   8
                                                                                          ORDER SETTING CASE
                                                 v.                                       MANAGEMENT CONFERENCE
                                   9

                                  10     MICHAEL BRENT ROTHENBERG,                        Re: ECF No. 406
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court now sets a case management conference on November 8, 2024 to discuss the

                                  14   issues raised by attorney James Thomson’s status report dated October 25, 2024. ECF No. 406.

                                  15   The conference will proceed regardless of whether Defendant’s motion to continue the sentencing

                                  16   set for that date is granted. At the hearing, Defendant and his counsel should show cause why the

                                  17   limited appointment of Mr. Thomson should not conclude as of November 8, 2024.

                                  18          IT IS SO ORDERED.

                                  19   Dated: October 29, 2024
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                                                                                                    JON S. TIGAR
                                  21                                                          United States District Judge

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